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                           UNITED STATES BANKRUPTCY COURT
                           EASTERN DISTRICT OF PENNSYLVANIA

IN RE:       Elaine K. Cooperstein                 Case No.: 19-12568-mdc
                          Debtor
                                                   Chapter: 13
             SN Servicing Corporation as
             Servicer for U.S. Bank Trust          Judge: Magdeline D. Coleman
             National Association, as Trustee of
             BKPL Lodge Series I Trust             Hearing Date: March 29, 2022 at 10:30 am
                            Movant
             v.                                    Objection Deadline: March 14, 2022

             Elaine K. Cooperstein
             Kenneth E. West - Trustee
                          Respondents


               ORDER GRANTING RELIEF FROM THE AUTOMATIC STAY

         UPON consideration of the Application of SN Servicing Corporation as Servicer for U.S.

Bank Trust National Association, as Trustee of BKPL Lodge Series I Trust (together with any

successor and/or assign, “Movant”) dated February 28, 2022 and with good cause appearing

therefore, it is

         ORDERED the automatic stay, heretofore in effect pursuant to 11 U.S.C. § 362(a), is

hereby vacated for cause pursuant to 11 U.S.C. § 362(d)(1) to permit Movant to exercise all

rights available to it under applicable law with respect to 1600 Hagysford Road, Unit 3Y, Penn

Valley, PA 19072; and it is further;

         ORDERED that in the event this case is converted to a case under any other chapter of

the U.S. Bankruptcy Code, this Order will remain in full force and effect; and it is further

         ORDERED that the Movant shall promptly report to the Chapter 13 Trustee any surplus

monies realized by any sale of the Property.
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                                    BY THE COURT:


 April 26, 2022
                                    ___________________________________
                                     MAGDELINE D. COLEMAN
                                     CHIEF U.S. BANKRUPTCY JUDGE
